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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


JAN P. HOLICK, JR., STEVEN MOFFITT,
JUSTIN MOFFITT, GURWINDER SINGH,
and JASON MACK,
                        Plaintiffs, on behalf of themselves
                        and all others similarly situated,

      -against-

CELLULAR SALES OF NEW YORK, LLC, and
CELLULAR SALES OF KNOXVILLE, INC.,

                           Defendants.


      BRIEF IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                    Case No. 1:12-CV-584 (NAM/DRH)




                   APPENDIX
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